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EXHIBIT C

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2016

Department of the Treasury
Internal Revenue Service

Instructions for Form 990
Return of Organization
Exempt From Income Tax

Under section 501(c), 527, or 4947(a)(1) of the Internal Revenue Code

(except private foundations)

Section references are to the Internal Revenue Code unless
otherwise noted,

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Dec 09, 2016

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Future Developments

For the latest information about developments related to Form
990 and its instructions, such as legislation enacted after they
were published, go to www.irs.gov/form990.

Purpose of Form

Forms 990 and 990-EZ are used by tax-exempt organizations,
nonexempt charitable trusts, and section 527 political
organizations to provide the IRS with the information required by
section 6033.

An organization's completed Form 990 or 990-EZ, anda
section 501(c)(3) organization's Form 990-T, Exempt
Organization Business Income Tax Return, generally are
available for public inspection as required by section 6104.
Schedule B (Form 990, 990-EZ, or 990-PF), Schedule of
Contributors, is available for public inspection for section 527
organizations filing Form 990 or 990-EZ. For other organizations
that file Form 990 or Form 990-EZ, parts of Schedule B (Form
990, 990-EZ, or 990-PF), can be open to public inspection. See
Appendix D and the Instructions for Schedule B (Form 990,
990-EZ, or 990-PF) for more details.

Some members of the public rely on Form 990 or Form
990-EZ as their primary or sole source of information about a
particular organization. How the public perceives an organization
in such cases can be determined by information presented on its
return.

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Phone Help

if you have questions and/or need help completing Form 990,
please call 1-877-829-5500. This toll-free telephone service is
available Monday through Friday.

Email Subscription

The IRS has established a subscription-based email service for
tax professionals and representatives of tax-exempt
organizations. Subscribers will receive periodic updates from the
IRS regarding exempt organization tax law and regulations,
available services, and other information. To subscribe, visit
www. irs.gov/Charities- &-Non-Profits/Subscribe-to-Exempt-
Organization-Update.

General Instructions
Overview of Form 990

Note. Terms in bold are defined in the Glossary of the
Instructions for Form 990.

Certain Form 990 filers must file electronically. See
General Instructions, Section E. When, Where, and How
mmm fo File, later, for who must file electronically.

Form 990 is an annual information return required to be filed with
the IRS by most organizations exempt from income tax under
section 501(a), and certain political organizations and
nonexempt charitable trusts. Parts | through XII of the form
must be completed by all filing organizations and require
reporting on the organization's exempt and other activities,
finances, governance, compliance with certain federal tax filings
and requirements, and compensation paid to certain persons.
Additional schedules are required to be completed depending
upon the activities and type of the organization. By completing
Part IV, the organization determines which schedules are
required. The entire completed Form 990 filed with the IRS,
except for certain contributor information on Schedule B (Form
990, 990-EZ, or 990-PF), is required to be made available to the
public by the IRS and the filing organization (see Appendix D.
Public Inspection of Returns), and can be required to be filed
with state governments to satisfy state reporting requirements.
See Appendix |. Use of Form 990 and 990-EZ to Satisfy State
Reporting Requirements.

Reminder: Don't Include Social Security Numbers
yN on Publicly Disclosed Forms. Because the filing
EME organization and the IRS are required to publicly
disclose the organization's annual information returns, social
security numbers should not be included on this form. By law,
with limited exceptions, neither the organization nor the IRS may
remove that information before making the form publicly
available. Documents subject to disclosure include statements
and attachments filed with the form. For more information, see
Appendix D. Public Inspection of Returns.

Helpful Hints. The following hints can help you more efficiently
review these instructions and complete the form.

* See General Instructions, Section C. Sequencing List to
Complete the Form and Schedules, later, which provides
guidance on the recommended order for completing the form
and applicable statements.

* Throughout these instructions, “the organization” and the
“filing organization” both refer to the organization filing Form 990.
e Unless otherwise specified, information should be provided
for the organization's tax year. For instance, an organization
should answer “Yes” to a question asking whether it conducted a
certain type of activity only if it conducted that activity during the
tax year.

* The examples appearing throughout the instructions on Form
990 are illustrative only. They are for the purpose of completing
this form and aren't all-inclusive.

* Instructions to the Form 990 schedules are published
separately from these instructions.

Organizations that have total gross income from
7X unrelated trades or businesses of at least $1,000
[Tn also are required to file Form 990-T, Exempt
Organization Business Income Tax Return, in addition to any
required Form 990, 990-EZ, or 990-N.

A. Who Must File

Most organizations exempt from income tax under section
501(a) must file an annual information return (Form 990 or
990-EZ) or submit an annual electronic notice (Form 990-N),
depending upon the organization's gross receipts and total

assets.
to aggregate information from another organization that
has a different EIN, unless it is filing a group return and
reporting information from a subordinate organization or
organizations, reporting information from a joint venture or
disregarded entity (see Appendices E and F, later), or as
otherwise provided for in the Code, regulations, or official IRS
guidance. A parent exempt organization of a section 501(c)(2)
title-holding company may file a consolidated Form 990-T with
the section 501(c)(2) organization, but not a consolidated Form
990.

An organization may not file a “consolidated” Form 990

Form 990 must be filed by an organization exempt from
income tax under section 501(a) (including an organization that
has not applied for recognition of exemption) if it has either (1)
gross receipts greater than or equal to $200,000 or (2) total
assets greater than or equal to $500,000 at the end of the tax
year (with exceptions described below for organizations eligible
to submit Form 990-N and for certain organizations described in
Section B. Organizations Not Required to File Form 990 or
990-EZ, later). This includes:

e Organizations described in section 501(c)(3) (other than
private foundations), and

* Organizations described in other 501(c) subsections (other
than black lung benefit trusts).

Gross receipts are the total amounts the organization
received from all sources during its tax year, without subtracting
any costs or expenses. See Appendix B for a discussion of
gross receipts.

For purposes of Form 990 reporting, the term section 501(c)
(3) includes organizations exempt under sections 501(e) and (f)
(cooperative service organizations), 501 (j) (amateur sports
organizations), 501(k) (child care organizations), and 501(n)
(charitable risk pools). In addition, any organization described in
one of these sections is also subject to section 4958 if it obtains
a determination letter from the IRS stating that it is described in
section 501(c)(3).

Form 990-N. If an organization normally has gross receipts of
$50,000 or less, it must submit Form 990-N, Electronic Notice
(e-Postcard) for Tax-Exempt Organizations Not Required To File
Form 990 or 990-EZ, if it chooses not to file Form 990 or Form
990-EZ (with exceptions described below for certain section
509(a)(3) supporting organizations and for certain
organizations described in Section B. Organizations Not
Required To File Form 990 or 990-EZ, later.) See Appendix B for
a discussion of gross receipts.

Form 990-EZ. If an organization has gross receipts less than
$200,000 and total assets at the end of the tax year less than
$500,000, it can choose to file Form 990-EZ, Short Form Return

Instructions for Form 990
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of Organization Exempt From Income Tax, instead of Form 990.
See the Instructions for Form 990-EZ for more information. See
the special rules below regarding controlling organizations
under section 512(b)(13) and sponsoring organizations of
donor advised funds.

If an organization eligible to submit the Form 990-N or file the
Form 990-EZ chooses to file the Form 990, it must file a
complete return.

Foreign and U.S. possession organizations. Foreign
organizations and U.S. possession organizations as well as
domestic organizations must file Form 990 or 990-EZ unless
specifically excepted under Section B. Organizations Not
Required To File Form 990 or 990-EZ, later. Report amounts in
U.S. dollars and state what conversion rate the organization
uses. Combine amounts from inside and outside the United
States and report the total for each item. All information must be
written in English.

Sponsoring organizations of donor advised funds. If
required to file an annual information return for the year,
sponsoring organizations of donor advised funds must file
Form 990 and not Form 990-EZ.

Controlling organizations described in section 512(b)(13).
A controlling organization of one or more controlled entities,
as described in section 512(b)(13), must file Form 990 and not
Form 990-EZ if it is required to file an annual information return
for the year and if there was any transfer of funds between the
controlling organization and any controlled entity during the year.

Section 509(a)(3) supporting organizations. A section
509(a)(3) supporting organization must file Form 990 or
990-EZ, even if its gross receipts are normally $50,000 or less,
and even if it is described in Rev. Proc. 96-10, 1996-1 C.B. 577,
or is an affiliate of a governmental unit described in Rev. Proc.
95-48, unless it qualifies as one of the following:

1. An integrated auxiliary of a church described in
Regulations section 1.6033-2(h),

2. The exclusively religious activities of a religious order,
or

3. An organization, the gross receipts of which are normally
not more than $5,000, that supports a section 501(c)(3) religious
organization.

If the organization is described in (3) but not in (1) or (2), then it
must submit Form 990-N unless it voluntarily files Form 990 or
990-EZ.

Section 501(c)(7) and 501(c)(15) organizations. Section
501(c)(7) and 501(c)(15) organizations apply the same gross
receipts test as other organizations to determine whether they
must file Form 990, but use a different definition of gross receipts
to determine whether they qualify as tax-exempt for the tax year.
See Appendix C for more information.

Section 527 political organizations. A tax-exempt political
organization must file Form 990 or 990-EZ if it had $25,000 or
more in gross receipts during its tax year, even if its gross
receipts are normally $50,000 or less, unless it meets one of the
exceptions for certain political organizations under Section B.
Organizations Not Required To File Form 990 or 990-EZ, later. A
qualified state or local political organization must file Form 990 or
990-EZ only if it has gross receipts of $100,000 or more. Political
organizations aren't required to submit Form 990-N.

Section 4947(a)(1) nonexempt charitable trusts. A
nonexempt charitable trust described under section 4947(a)
(1) (if it isn't treated as a private foundation) is required to file
Form 990 or 990-EZ, unless excepted under Section B.
Organizations Not Required To File Form 990 or 990-EZ, later.
Such a trust is treated like an exempt section 501(c)(3)

Instructions for Form 990

organization for purposes of completing the form. Section
4947(a)(1) trusts must complete all sections of the Form 990 and
schedules that section 501(c)(3) organizations must complete.
All references to a section 501(c)(3) organization in the Form
990, schedules, and instructions include a section 4947(a)(1)
trust (for instance, such a trust must complete Schedule A (Form
990 or 990-EZ)), unless otherwise specified. If such a trust does
not have any taxable income under Subtitle A of the Code, it can
file Form 990 or 990-EZ to meet its section 6012 filing
requirement and does not have to file Form 1041, U.S. Income
Tax Return for Estates and Trusts.

Returns when exempt status not yet established. An
organization is required to file Form 990 under these instructions
if the organization claims exempt status under section 501(a) but
has not established such exempt status by filing Form 1023,
Application for Recognition of Exemption Under Section 501(c)
(3) of the Internal Revenue Code, Form 1023-EZ, Streamlined
Application for Recognition of Exemption Under Section 501 (c)
(3) of the Internal Revenue Code, or Form 1024, Application for
Recognition of Exemption Under Section 501(a), and receiving
an IRS determination letter recognizing tax-exempt status. In
such a case, the organization must check the “Application
pending” checkbox in Form 990, Item B, Heading, page 1
(whether or not a Form 1023, 1023-EZ, or 1024 has been filed)
to indicate that Form 990 is being filed in the belief that the
organization is exempt under section 501(a), but that the IRS
has not yet recognized such exemption.

To qualify for tax exemption retroactive to the date of its
organization or formation, an organization claiming tax-exempt
status under section 501(c)(3), 501(c)(9), or 501(c)(17) generally
must file Form 1023, 1023-EZ, or 1024 within 27 months of the
end of the month in which it was legally organized or formed.

An organization that has filed a letter application for
yN recognition of exernption as a qualified nonprofit health
Can insurance issuer under section 501(c)(29), or plans to do
so, but has not yet received an IRS determination letter
recognizing exempt status, must check the “Application
pending” checkbox in the Form 990 Heading, Item B.

B. Organizations Not Required To File
Form 990 or 990-EZ

An organization does not have to file Form 990 or 990-EZ even if
it has at least $200,000 of gross receipts for the tax year or
$500,000 of total assets at the end of the tax year if it is
described below (except for section 509(a)(3) supporting
organizations, which are described earlier). See Section A. Who
Must File to determine if the organization can file Form 990-EZ
instead of Form 990. An organization described in paragraph 10,
11, or 13 of this Section B is required to submit Form 990-N
unless it voluntarily files Form 990, 990-EZ, or 990-BL, as
applicable.

Certain religious organizations.

1. Achurch, an interchurch organization of local units of a
church, a convention or association of churches, or an
integrated auxiliary of a church as described in Regulations
section 1.6033-2(h) (such as a men's or women's organization,
religious school, mission society, or youth group).

2. Achurch-affiliated organization that is exclusively
engaged in managing funds or maintaining retirement programs
and is described in Rev. Proc. 96-10, 1996-1 C.B. 577. But see
the filing requirements for section 509(a})(3) supporting
organizations in A. Who Must File.

3. Aschool below college level affiliated with a church or
operated by a religious order described in Regulations section
1.6033-2(g)(1){vii).
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4. A mission society sponsored by, or affiliated with, one or
more churches or church denominations, if more than half of the
society's activities are conducted in, or directed at, persons in
foreign countries.

5. An exclusively religious activity of any religious order
described in Rev. Proc. 91-20, 1991-1 C.B. 524.

Certain governmental organizations.

6. A state institution whose income is excluded from gross
income under section 115.

7. Agovernmental unit or affiliate of a governmental unit
described in Rev, Proc. 95-48, 1995-2 C.B. 418. But see the
filing requirements for section 509(a)(3) supporting
organizations in A. Who Must File.

8. An organization described in section 501(c)(1). A section
501(c)(1) organization is a corporation organized under an Act of
Congress that is an instrumentality of the United States, and
exempt from federal income taxes.

Certain political organizations.

9. A political organization that is:
© Astate or local committee of a political party;
* A political committee of a state or local candidate;
* A caucus or association of state or local officials; or
* Required to report under the Federal Election Campaign Act
of 1971 as a political committee (as defined in section 301(4) of
such Act).

Certain organizations with limited gross receipts.

10. An organization whose gross receipts are normally
$50,000 or less. Such organizations generally are required to
submit Form 990-N if they choose not to file Form 990 or Form
990-EZ. To determine what an organization's gross receipts
“normally” are, see Appendix B. How to Determine Whether an
Organization's Gross Receipts Are Normally $50,000 (or $5,000)
or Less,

11, Foreign organizations and organizations located in U.S.
possessions, whose gross receipts from sources within the
United States are normally $50,000 or less and which did not
engage in significant activity in the United States (other than
investment activity). Such organizations, if they claim U.S. tax
exemption or are recognized by the IRS as tax-exempt,
generally are required to submit Form 990-N if they choose not
to file Form 990 or 990-EZ.

If a foreign organization or U.S. possession organization is
required to file Form 990 or Form 990-EZ, then its worldwide
gross receipts, as well as assets, are taken into account in
determining whether it qualifies to file Form 990-EZ.

Certain organizations that file different kinds of annual
information returns.

12. A private foundation (including a private operating
foundation) exempt under section 501(c)(3) and described in
section 509(a). Use Form 990-PF, Return of Private Foundation.
Also use Form 990-PF for a taxable private foundation, a section
4947(a)(1) nonexempt charitable trust treated as a private
foundation, and a private foundation terminating its status by
becoming a public charity under section 507(b)(1)(B) (for tax
years within its 60-month termination period). If the organization
successfully terminates, then it files Form 990 or 990-EZ in its
final year of termination.

13. A black lung benefit trust described in section 501(c)(21).
Use Form 990-BL, Information and Initial Excise Tax Return for
Black Lung Benefit Trusts and Certain Related Persons.

14. A religious or apostolic organization described in section
501(d). Use Form 1065, U.S. Return of Partnership Income.

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15. A stock bonus, pension, or profit-sharing trust that
qualifies under section 401, Use Form 5500, Annual Return/

Report of Employee Benefit Plan.
which are included in a group return filed by the
central organization for the tax year should not file a

separate Form 990 or Form 990-EZ for the tax year.

Subordinate organizations in a group exemption

C. Sequencing List To Complete the
Form and Schedules

You may find the following list helpful. It limits jumping from one
part of the form to another to make a calculation or determination
needed to complete an earlier part. Certain later parts of the
form must first be completed in order to complete earlier parts. In
general, first complete the core form, and then complete
alphabetically Schedules A-N and Schedule R, except as
provided below. Schedule O (Form 990 or 990-EZ),
Supplemental Information to Form 990, should be completed as
the core form and schedules are completed. Note that all
organizations filing Form 990 must file Schedule O.

A public charity described in section 170(b)(1){A)(iv),
170(b)(1)(A)(vi), or 509(a)(2) that isn't within its initial five

years of existence should first complete Part II or Ifl of
Schedule A (Form 990 or 990-EZ) to ensure that it continues to
qualify as a public charity for the tax year. If it fails to qualify as a
public charity, then it must file Form 990-PF rather than Form

990 or 990-EZ, and check the box for “Initial return of a former
public charity” on page 1 of Form 990-PF.

1. Complete Items A through F and H(a) through M in the
Heading of Form 990, on page 1.

2. See the instructions for definitions of related
organization and control and determine the organization's
related organizations required to be listed in Schedule R (Form
990).

3. Determine the organization's officers, directors, trustees,
key employees, and five highest compensated employees
required to be listed on Form 990, Part VII, Section A.

4. Complete Parts VIII, IX, and X of Form 990.

5. Complete Item G in the Heading section of Form 990, on
page 1.

6. Complete Parts Ill, V, Vil, XI, and XII of Form 990.

7. See the Instructions for Schedule L (Form 990 or
990-EZ), Transactions With Interested Persons, and complete
Schedule L (Form 990 or 990-EZ) (if required).

8. Complete Part VI of Form 990. Transactions reported on
Schedule L (Form 990 or 990-EZ) are relevant to determining
independence of members of the governing body under Form
990, Part VI, line 1b.

9. Complete Part | of Form 990 based on information
derived from other parts of the form.

10. Complete Part IV of Form 990 to determine which
schedules must be completed by the organization.

11. Complete Schedule O (Form 990 or 990-EZ) and any
other applicable schedules (for “Yes” boxes that were checked
in Part IV). Use Schedule O (Form 990 or 990-EZ) to provide
required supplemental information and other narrative
explanations for questions on the core Form 990. For questions
on Form 990 schedules, use the narrative part of each schedule
to provide supplemental narrative.

12. Complete Part Il, Signature Block, of Form 990.

D. Accounting Periods and Methods
These are the accounting periods covered under the law.

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Accounting Periods

Calendar year. Use the 2016 Form 990 to report on the 2016
calendar year accounting period. A calendar year accounting
period begins on January 1 and ends on December 31.

Fiscal year. If the organization has established a fiscal year
accounting period, use the 2016 Form 990 to report on the
organization's fiscal year that began in 2016 and ended 12
months later. A fiscal year accounting period should normally
coincide with the natural operating cycle of the organization. Be
certain to indicate in Item A of the Heading of Form 990 the date
the organization's fiscal year began in 2016 and the date the
fiscal year ended in 2017.

Short period. A short accounting period is a period of less than
12 months, which exists when an organization first commences
operations, changes its accounting period, or terminates. If the
organization's short year began in 2016, and ended before
December 31, 2016 (not on or after December 31, 2016), it may
use either 2015 Form 990 or 2016 Form 990 to file for the short
year. The 2016 form may also be used for a short period
beginning in 2017 and ending before December 31, 2017 (not
on or after December 31, 2017). When doing so, provide the
information for designated years listed on the return, other than
the tax year being reported, as if they were updated on the 2017
form. For example, provide the information in Schedule A, Part Il,
for the tax years 2013-2017, rather than for tax years 2012-2016.
A short period return cannot be filed electronically unless it is an
initial return for which the “Initial return” box is checked in Item B
of the Heading or a final return for which the “Final return/
terminated” box is checked in Item B of the Heading.

Accounting period change. If the organization changes its
accounting period, it must file a Form 990 for the short period
resulting from the change. Write “Change of Accounting Period”
at the top of this short-period return.

If the organization has previously changed its annual
accounting period at any time within the 10-calendar-year period
that includes the beginning of the short period resulting from
the current change in accounting period, and it had a Form
990-series filing requirement or income tax return filing
requirement at any time during that 10-year period, it must also
file a Form 1128, Application To Adopt, Change, or Retain a Tax
Year, with the short-period return. See Rev. Proc. 85-58, 1985-2
C.B. 740.

If an organization that submits Form 990-N changes its
accounting period, it must report this change on Form 990, Form
990-EZ, or Form 1128, or by sending a letter to Internal Revenue
Service, 1973 Rulon White Blvd., Ogden, Utah 84201.

Accounting Methods

Unless instructed otherwise, the organization should generally
use the same accounting method on the return (including the
Form 990 and all schedules) to report revenue and expenses
that it regularly uses to keep its books and records. To be
acceptable for Form 990 reporting purposes, however, the
method of accounting must clearly reflect income.

Accounting method change. Generally, the organization must
file Form 3115, Application for Change in Accounting Method, to
change its accounting method. An exception applies where a
section 501(c) organization changes its accounting method to
comply with the Financial Accounting Standards Board (FASB)
Statement of Financial Accounting Standards 116, Accounting
for Contributions Received and Contributions Made (SFAS
116), now codified in FASB Accounting Standards Codification
958, Not-for-Profit Entities (ASC 958). See Notice 96-30, 1996-1
C.B. 378. An organization that makes a change in accounting
method, regardless of whether it files Form 3115, must report
any adjustment required by section 481 (a) in Parts VIII through

Instructions for Form 990

Xl and in Schedule D, (Form 990), Supplemental Financial
Statements, Parts XI and XII, as applicable.

State reporting. Many states that accept Form 990 in place of
their own forms require that all amounts be reported based on
the accrual method of accounting. If the organization prepares
Form 990 for state reporting purposes, it can file an identical
return with the IRS even though the return does not agree with
the books of account, unless the way one or more items are
reported on the state return conflicts with the instructions for
preparing Form 990 for filing with the IRS.

Example 1. The organization maintains its books on the
cash receipts and disbursements method of accounting but
prepares a Form 990 return for the state based on the accrual
method. It could use that return for reporting to the IRS.

Example 2. A state reporting requirement requires the
organization to report certain revenue, expense, or balance
sheet items differently from the way it normally accounts for
them on its books. A Form 990 prepared for that state is
acceptable for the IRS reporting purposes if the state reporting
requirement does not conflict with the Instructions for Form 990.

An organization should keep a reconciliation of any
differences between its books of account and the Form 990 that
is filed. Organizations with audited financial statements are
required to provide such reconciliations on Schedule D (Form
990), Parts XI through XIl.

See Pub. 538, Accounting Periods and Methods, and
Tip) the instructions to Forms 1128 and 3115, about
reporting changes to accounting periods and methods.

E. When, Where, and How To File

File Form 990 by the 15" day of the 5" month after the
organization's accounting period ends (May 15" fora
calendar-year filer). If the due date falls on a Saturday, Sunday,
or legal holiday, file on the next business day. A business day is
any day that isn't a Saturday, Sunday, or legal holiday.

If the organization is liquidated, dissolved, or terminated, file
the return by the 15th day of the 5th month after liquidation,
dissolution, or termination.

If the return isn't filed by the due date (including any extension
granted), explain in a separate attachment, giving the reasons
for not filing on time.

Send the return to:

Department of the Treasury
Internal Revenue Service Center
Ogden, UT 84201-0027

Foreign and U.S. possession organizations. If the
organization's principal business, office, or agency is located ina
foreign country or U.S. possession, send the return to:

Department of the Treasury
Internal Revenue Service Center
P.O. Box 409101

Ogden, UT 84409

Private delivery services. The organization can use only the
IRS-designated private delivery services below to meet the
“timely mailing as timely filing/paying” rule for tax returns and
payments. These private delivery services include only the
following:

¢ DHL Express 9:00; DHL Express 10:30; DHL Express 12:00;
DHL Express Worldwide; DHL Express Envelope; DHL Import
Express 10:30; DHL Import Express 12:00; DHL Import Express
Worldwide,
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e Federal Express (FedEx): FedEx First Overnight, FedEx
Priority Overnight, FedEx Standard Overnight, FedEx 2Day,
FedEx International Next Flight Out, FedEx International Priority,
FedEx International First, FedEx International Economy.

e United Parcel Service (UPS): UPS Next Day Air Early AM,
UPS Next Day Air, UPS Next Day Air Saver, UPS 2" Day Air,
UPS 2™ Day Air AM, UPS Worldwide Express Plus, and UPS
Worldwide Express.

For private delivery services, deliver the return to:

Internal Revenue Service
1973 Rulon White Bivd.
Ogden, UT 84201

The private delivery service can tell you how to get written
proof of the mailing date.

Private delivery services cannot deliver items to P.O.
boxes, You must use the U.S. Postal Service to mail any
my item to an IRS P.O. box.

Electronic filing. The organization can file Form 990 and
related forms, schedules, and attachments electronically.
However, if an organization files at least 250 returns of any type
during the calendar year ending with or within the organization's
tax year and has total assets of $10 million or more at the end
of the tax year, it must file Form 990 electronically. “Returns” for
this purpose include information returns (for example, Forms
W-2 and Forms 1099), income tax returns, employment tax
returns (including quarterly Forms 941, Employer's Quarterly
Federal Tax Return), and excise tax returns.

If an organization is required to file a return electronically but
does not, the organization is considered not to have filed its
return, even if a paper return is submitted, unless it is reporting a
name change, in which case it must file by paper and attach the
documents described in Specific Instructions, Item B.
Checkboxes, later. See Regulations section 301.6033-4 for
more information on mandatory electronic filing of Form 990.

For additional information on the electronic filing requirement,
visit www.irs.gov/Filing.

The IRS may waive the requirements to file electronically in
cases of undue hardship. For information on filing a waiver, see
Notice 2010-13, 2010-4 I.R.B. 327, available at
www. irs.gowirb/2010-04 IRB/art4.html.

F. Extension of Time To File

Use Form 8868, Application for Automatic Extension of Time To
File an Exempt Organization Return, to request an automatic
extension of time to file.

G. Amended Return/Final Return

To amend the organization's return for any year, file a new return
including any required schedules. Use the version of Form 990
applicable to the year being amended. The amended return
must provide all the information called for by the form and
instructions, not just the new or corrected information. Check the
“Amended return” box in Item B of the Heading of the return on
page 1 of the form. Also, enter in Schedule O (Form 990 or
990-EZ) which parts and schedules of the Form 990 were
amended and describe the amendments.

The organization can file an amended return at any time to
change or add to the information reported on a previously filed
return for the same period. It must make the amended return
available for inspection for 3 years from the date of filing or 3
years from the date the original return was due, whichever is
later.

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If the organization needs a complete copy of its previously
filed return, it can file Form 4506, Request for Copy of Tax
Return. See IRS.gov for information on getting blank tax forms.

If the return is a final return, the organization must check the
“Final return/terminated” box in Item B of the Heading on page 1
of the form, and complete Schedule N (Form 990 or 990-EZ),
Liquidation, Termination, Dissolution, or Significant Disposition
of Assets.

Amended returns and state filing considerations. State law
may require that the organization send a copy of an amended
Form 990 return (or information provided to the IRS
supplementing the return) to the state with which it filed a copy of
Form 990 to meet that state's reporting requirement. A state may
require an organization to file an amended Form 990 to satisfy
state reporting requirements, even if the original return was
accepted by the IRS.

H. Failure-to-File Penalties

Against the organization. Under section 6652(c)(1)(A), a
penalty of $20 a day, not to exceed the lesser of $10,000 or 5%
of the gross receipts of the organization for the year, can be
charged when a return is filed late, unless the organization
shows that the late filing was due to reasonable cause.
Organizations with annual gross receipts exceeding
$1,020,000 are subject to a penalty of $100 for each day failure
continues (with a maximum penalty for any one return of
$51,000). The penalty applies on each day after the due date
that the return isn't filed.

Tax-exempt organizations that are required to file
electronically but don't are deemed to have failed to file the
return. This is true even if a paper return is submitted, unless the
organization files by paper to report a name change.

The penalty can also be charged if the organization files an
incomplete return, such as by failing to complete a required line
item or a required part of a schedule. To avoid penalties and
having to supply missing information later:

* Complete all applicable line items,

e Unless instructed to skip a line, answer each question on the
return,

¢ Make an entry (including a zero when appropriate) on all lines
requiring an amount or other information to be reported, and

* Provide required explanations as instructed.

Also, this penalty can be imposed if the organization's return
contains incorrect information. For example, an organization that
reports contributions net of related fundraising expenses can be
subject to this penalty.

Use of a paid preparer does not relieve the organization of its
responsibility to file a complete and accurate return.

Against responsible person(s). If the organization does not
file a complete return or does not furnish correct information, the
IRS will send the organization a letter that includes a fixed time
to fulfill these requirements. After that period expires, the person
failing to comply will be charged a penalty of $10 a day. The
maximum penalty on all persons for failures for any one return
shall not exceed $5,000.

There are also penalties (fines and imprisonment) for willfully
not filing returns and for filing fraudulent returns and statements
with the IRS (see sections 7203, 7206, and 7207). States can
impose additional penalties for failure to meet their separate
filing requirements.

Automatic revocation for nonfiling for three consecutive
years. The law requires most tax-exempt organizations, other
than churches, to file an annual Form 990, 990-EZ, or 990-PF
with the IRS, or to submit a Form 990-N e-Postcard to the IRS. If
an organization fails to file an annual return or submit a notice as
required for 3 consecutive years, its tax-exempt status is

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automatically revoked on and after the due date for filing its third
annual return or notice. Organizations that lose their tax-exempt
status may need to file income tax returns and pay income tax,
but may apply for reinstatement of exemption. For details, go to
www. irs.gov/eo.

1. Group Return

Acentral, parent, or similar organization can file a group return
on Form 990 for two or more subordinate or local organizations
that are:

* Affiliated with the central organization at the time its tax year
ends,

* Subject to the central organization's general supervision or
control,

« Exempt from tax under a group exemption letter that is still
in effect, and

e Using the same tax year as the central organization.

The central organization can't use a Form 990-EZ for the
group return.

A subordinate organization may choose to file a separate
annual information return instead of being included in the group
return,

If the central organization is required to file a return for
itself, it must file a separate return and can't be included in the
group return. See Regulations section 1.6033-2(d)(1). See
Section B. Organizations Not Required To File Form 990 or
990-EZ, earlier, for a list of organizations not required to file.

Every year, each subordinate organization must authorize the
central organization in writing to include it in the group return and
must declare, under penalties of perjury, that the authorization
and the information it submits to be included in the group return
are true and complete.

The central organization should send the annual information
update required to maintain a group exemption ruling (a
separate requirement from the annual return) to:

Department of the Treasury
Internal Revenue Service Center
Ogden, UT 84201-0027

For special instructions regarding answering certain Form
990 questions about parts or schedules in the context of a group
return, see Appendix E. Group Returns—Reporting Information
on Behalf of the Group.

J. Requirements for a Properly
Completed Form 990

All organizations filing Form 990 must complete Parts | through
All, Schedule O (Form 990 or 990-EZ), and any schedules for
which a “Yes” response is indicated in Part IV. If an organization
isn't required to file Form 990 but chooses to do so, it must file a
complete return and provide all of the information requested,
including the required schedules.

Public inspection. In general, all information the organization
reports on or with its Form 990, including schedules and
attachments, will be available for public inspection. Note,
however, the special rules for Schedule B (Form 990, 990-EZ, or
990-PF), Schedule of Contributors, a required schedule for
certain organizations that file Form 990. Make sure the forms
and schedules are clear enough to photocopy legibly. For more
information on public inspection requirements, see Appendix D.
Public Inspection of Returns, and Pub. 557, Tax-Exempt Status
for Your Organization,

Signature. A Form 990 isn't complete without a proper
signature. For details, see the instructions to Part Il, Signature
Block,

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Recordkeeping. The organization's records should be kept for
as long as they may be needed for the administration of any
provision of the Internal Revenue Code. Usually, records that
support an item of income, deduction, or credit must be kept for
a minimum of 3 years from the date the return is due or filed,
whichever is later. Keep records that verify the organization's
basis in property for as long as they are needed to figure the
basis of the original or replacement property. Applicable law and
an organization's policies can require that the organization retain
records longer than 3 years. Form 990, Part VI, line 14, asks
whether the organization has a document retention and
destruction policy.

The organization should also keep copies of any returns it
has filed. They help in preparing future returns and in making
computations when filing an amended return.

Rounding off to whole dollars. The organization must round
off cents to whole dollars on the returns and schedules, unless
otherwise noted for particular questions. To round, drop
amounts under 50 cents and increase amounts from 50 to 99
cents to the next dollar. For example, $1.49 becomes $1 and
$2.50 becomes $3. If the organization has to add two or more
amounts to figure the amount to enter on a line, include cents
when adding the amounts and round off only the total.

Completing all lines. Make an entry (including -0- when
appropriate) on all lines requiring an amount or other information
to be reported. Don't leave any applicable lines blank, unless
expressly instructed to skip that line. If answering a line is
predicated on a “Yes” answer to the preceding line, and if the
organization's answer to the preceding line was “No,” then leave
the “If Yes” line blank.

All filers must file Schedule O (Form 990 or 990-EZ). Certain
questions require all filers to provide an explanation in
Schedule O (Form 990 or 990-EZ). In general, answers can be
explained or supplemented in Schedule O (Form 990 or 990-EZ)
if the allotted space in the form or other schedule is insufficient,
or if a “Yes” or “No” answer is required but the organization
wishes to explain its answer.

Missing or incomplete parts of the form and/or required
schedules may result in the IRS contacting you to obtain the
missing information. Failure to supply the information may result
in a penalty being assessed to your account. For tips on filing
complete returns, go to www.irs.gov/charities.

Reporting proper amounts. Some lines request information
reported on other forms filed by the organization (such as Forms
W-2, 1099, and 990-T). If the organization is aware that the
amount actually reported on the other form is incorrect, it must
report on Form 990 the information that should have been
reported on the other form (in addition to filing an amended form
with the proper amount).

In general, don't report negative numbers, but use -0- instead
of a negative number, unless the instructions otherwise provide.
Report revenue and expenses separately and don't net related
items, unless otherwise provided.

Inclusion of activities and items of disregarded entities
and joint ventures. An organization must report on its Form
990 all of the revenues, expenses, assets, liabilities, and net
assets or funds of a disregarded entity of which it is the sole
member, and must report on its Form 990 its share of all such
items of a joint venture or other investment or arrangement
treated as a partnership for federal income tax purposes. This
includes passive investments. In addition, the organization
generally must report activities of a disregarded entity or a joint
venture on the appropriate parts or schedules of Form 990. For
special instructions about the treatment of disregarded entities
and joint ventures for various parts of the form, see Appendix F.
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Disregarded Entities and Joint Ventures—inclusion of Activities
and Items.

Reporting information from third parties. Some lines
request information that the organization may need to obtain
from third parties, such as compensation paid by related
organizations; family and business relationships between
officers, directors, trustees, key employees, and certain
businesses they own or control; the organization's share of the
income and assets of a partnership or joint venture in which it
has an ownership interest; and certain transactions between the
organization and interested persons. The organization should
make reasonable efforts to obtain this information. If it is unable
to obtain certain information by the due date for filing the return,
it should file Form(s) 8868 to request a filing extension. See
Section F. Extension of Time To File, earlier. If the organization
is unable to obtain this information by the extended due date
after making reasonable efforts, and isn't certain of the answer to
a particular question, it may make a reasonable estimate, where
applicable, and explain in Schedule O.

Assembling Form 990, schedules, and
attachments

Before filing Form 990, assemble the package of forms,
schedules, and attachments in the following order,

1. Core form with Parts | through XII completed, filed in
numerical order.

2. Schedules, completed as applicable, filed in alphabetical
order (see Form 990, Part IV for required schedules). All pages
of a required schedule must be submitted by Form 990 paper
filers, even if the filer is only required to complete certain parts
but not all of the schedule.

3. Attachments, completed as applicable. These include (a)
name change amendment to organizing document required by
Item B under Heading; (b) list of subordinate organizations
included in a group return required by tem H under Heading;
(c) articles of merger or dissolution, resolutions, and plans of
liquidation or merger required by Schedule N (Form 990 or
990-EZ); (d) reasonable cause explanation for a late-filed return;
and (e) for hospital organizations only, a copy of the most
recent audited financial statements.

Don't attach materials not authorized in the instructions or not
otherwise authorized by the IRS.

To facilitate the processing of your return, don't
rN password protect or encrypt PDF attachments.
we Password protecting or encrypting a PDF file that is
attached to an e-filed return prevents the IRS from opening the
attachment.

filed Form 990, 990-EZ, 990-N, or 8822-B or in correspondence
to the IRS.

If a change in address occurs after the return is filed, use
Ti) Form 8822-B, Change of Address or Responsible
Party—Business, to notify the IRS of the new address.

Name change. Check this box if the organization changed its
legal name (not its “doing business as" name) and if the
organization has not reported the change on its most recently
filed Form 990 or 990-EZ or in correspondence to the IRS. If the
organization changed its name, file Form 990 by paper and
attach the following documents:

IF the organization is... THEN attach...

A corporation A copy of the amendment to the
articles of incorporation, and proof of
filing with the appropriate state
authority.

A trust A copy of the amendment to the trust

instrument, or a resolution to amend
the trust instrument, showing the
effective date of the change of name
and signed by at least one trustee.

Specific Instructions

Heading. Items A-M

Complete items A through M.

Item A. Accounting period. File the 2016 return for calendar
year 2016 and fiscal years that began in 2016 and ended in
2017. For a fiscal year return, fill in the tax year space at the top
of page 1. See General Instructions, Section D. Accounting
Periods and Methods, earlier, for additional information about
accounting periods.

Item B. Checkboxes. The following checkboxes are under
Item B.

Address change. Check this box if the organization changed
its address and has not reported the change on its most recently

An unincorporated association A copy of the amendment to the
articles of association, constitution, or
other organizing document, showing
the effective date of the change of
name and signed by at least two

officers, trustees, or members.

Initial return. Check this box if this is the first time the
organization is filing a Form 990 and it has not previously filed a
Form 990-EZ, 990-PF, 990-T, or 990-N. ,

Final return/terminated. Check this box if the organization
has terminated its existence or ceased to be a section 501(a) or
section 527 organization and is filing its final return as an exempt
organization or section 4947(a)(1) trust. For example, an
organization should check this box when it has ceased
operations and dissolved, merged into another organization, or
has had its exemption revoked by the IRS. An organization that
checks this box because it has liquidated, terminated, or
dissolved during the tax year must also attach Schedule N (Form
990 or 990-EZ).

An organization must support any claim to have
yN liquidated, terminated, dissolved, or merged by

attaching a certified copy of its articles of dissolution or
merger approved by the appropriate state authority. If a certified
copy of its articles of dissolution or merger isn't available, the
organization must submit a copy of a resolution or resolutions of
its governing body approving plans of liquidation, termination,
dissolution, or merger.

Amended return. Check this box if the organization
previously filed a return with the IRS for a tax year and is now
filing another return for the same tax year to amend the
previously filed return. Enter in Schedule O (Form 990 or
990-EZ) the parts and schedules of the Form 990 that were
amended and describe the amendments. See General
Instructions, Section G. Amended Return/Final Return, earlier,
for more information.

Application pending. Check this box if the organization
either has filed a Form 1023, 1023-EZ, or 1024 with the IRS and
is awaiting a response, or claims tax-exempt status under
section 501(a) but has not filed Form 1023, 1023-EZ, or 1024 to
be recognized by the IRS as tax-exempt. If this box is checked,
the organization must complete all parts of Form 990 and any
required schedules. An organization that is required to file an
annual information return (Form 990 or Form 990-EZ) or submit

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